                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:09-cr-123-012
 v.                                                   )
                                                      )       COLLIER / LEE
 DIANA SUMMER SCOTT                                   )
                                                      )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court

 find Defendant Diana Summer Scott (“Defendant”) competent to understand the nature and

 consequences of the proceedings against her, able to assist in her defense, and competent to stand

 trial (Court File No. 330). Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Court File No. 330) pursuant to 28 U.S.C. § 636(b)(1) and finds Defendant

 competent to understand the nature and consequences of the proceedings against her, able to assist

 in her defense, and competent to stand trial.

        SO ORDERED.

        ENTER:

                                                 /s/
                                                 CURTIS L. COLLIER
                                                 CHIEF UNITED STATES DISTRICT JUDGE




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